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 4                         UNITED STATES DISTRICT COURT
 5                               DISTRICT OF NEVADA
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 6

 7   UNITED STATES OF AMERICA,               )     2:09-CR-00510-PMP-RJJ
                                             )
 8                  Plaintiff,               )
                                             )
 9   vs.                                     )          ORDER
                                             )
10   VENIAMIN LAOUGINE,                      )
                                             )
11                                           )
                    Defendant.               )
12                                           )
13            The Government having failed to file an opposition to Defendant’s Motion
14   for Return of Passport (Doc. #85) and good cause appearing,
15            IT IS ORDERED that Defendant Veniamin Laougine’s Motion for
16   Return of Passport (Doc. #85) is GRANTED.
17

18   DATED: March 22, 2011.
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                                             PHILIP M. PRO
21                                           United States District Judge
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